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Dr. Rami Cohen, MD
4 Arie Baron
Petach Tikva, Israel
Rami.cohen@gmail.com                                                                       6/29/2020

Dear Judge Engelmayer,


My name is Dr. Rami Cohen, I’m a physician and an entrepreneur living in Israel. I have known Ari
Teman for years and would like to share my impression of him, hoping it will allow you to see a bigger
picture prior to sentencing.


I met Ari, back in March, 2012, when I participated at the 12gurus:Health conference he founded.
While it started as a business relationship (as I presented in that conference), it quickly became a true
friendship. Every time I visited NYC, few times a year, we tried, an often succeeded, to meet and
chat. When Ari visited Israel, we met several times. In between, we kept regular connection via online
chat and phone calls. During those meetings we shared the ups and downs of life, personal and
professional, and I witnessed his character & behavior in a variety of situations.


Ari is a big thinker, driven to innovate, sometimes for the sake of making the world a better place, and
sometimes just for the sake of the innovation itself. He is also a helper, who jumps to assist without
being asked, and who is always available to friends and fellow entrepreneurs. He is full of love and
kindness.


The conference Ari created was like no other. Ari brought together leaders from Mayo Clinic, Harvard,
MIT, UNC, NYU, Columbia, and so many startups, to share ideas that nobody had talked about in the
traditional industry-focused, “siloed” conferences we were used to. Everyone I met was excited and
invigorated to help others from Ari’s work. He convinced the best thinkers to give their time and ideas,
delivered exceptional content, and then gave it free online, and even gave free or discount tickets to
students and entrepreneurs who could not afford the regular ticket. He ran around introducing people
and facilitating business relationships without asking for anything in return. As far as I know, although
the conference was extremely successful, there was no profit in it. This is very unusual for healthcare
conferences, and evident to the fact that Ari is not a money driven person.




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Ari continues to bring some of the smartest people together to help others, even during house arrest,
suffering personally an unimaginable stress, and with the whole world on lockdown. In example, he
recently brought together Dr. John Ratey from Harvard Medical School with Dr. Russel Foster from
Oxford to discuss healthy approaches to quarantine on a web video chat. Again, without any profit in
mind.


I have remained close friends with Ari over the years, frequently getting late night dinners or tea and
discussing business, family, and ideas. Over the years I have seen Ari struggle with various obstacles
in life, both personal and professional. Ari was always positive and very creative in resolving
problems and overcoming challenges. As an entrepreneur, he always kept looking at the macro level
of an issue, trying to solve big problems and thinking about the large scale. With grand visions he
often forgot to take care of himself, working long hours, last to get paid, etc. When his business was
doing well, instead of pocketing some money for a rainy day, he would rather pay developers to
improve a feature or hire technicians to offer his clients better service.


Ari loves ideas, loves creating things, loves helping others achieve their goals. These are his
passions and he’s almost always active in them. He says at the bottom of every email, and in
conversations, “Please let me know how I can be helpful,” and he acts it. Ari does not only respond to
requests for help, he looks to help.


In the technology area, as often mentioned in the press, GateGuard is very respected, and it is used
by top landlords and management companies. It is very difficult to make any hardware product, and
even more difficult to make one used outdoors in often-violent areas, but GateGuard serve thousands
of people every day as a means of entering their buildings and admitting guests. The hardware,
software, and business sides of this are very difficult to do, especially as a “bootstrapped” company
relying on customers to pay their bills instead of outsized investor funds. Ari worked very hard, always
if you called him he was in the office working, and up early with engineers or late with the factory, or
in a basement of a building helping his installers learn their skills.


In the last couple of years, I’ve had several conversations with Ari regarding GateGuard. I have seen
his frustrations dealing with landlords as clients. Too often they did whatever it takes not to pay on
time or no to pay at all. I have seen him go trough many stages from surprise, hope, disappointment,
anger, caution to almost paranoid. For me, he seemed like a fish out of the water. Seeing the bad
effect on his wellbeing, I encouraged him several times to quit, sell the business or pivot to a
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“healthier” industry. Ari, even in moments of true despair, felt obligated to run the service for his
customers and the tenants. On the night of the verdict, I happened to be in NYC. We were shocked
he was found guilty, trying to understand what it means for his life. Ari was busy trying to figure out a
way to keep the servers up and running to prevent a lock out of the many tenants using his devices.
He is driven by creating, by serving people and good doing. I wish, and I’m certain Ari wishes too, He
would take my advice few years ago and stopped dealing with the real estate sharks.


As someone who has started several businesses, I can tell you that building any company or
organization is exceedingly difficult and also messy. Founders rely on advice, sometimes wrong, they
rely on customers and investors who often make false promises, and so they make choices and
guesses under extreme pressure, sometimes wrong. If Ari made a mistake here, it is a factor of that,
and not a character issue. I am sure he has learned his lesson and can tell you with 100% certainty
that he wishes he did things differently! While Ari may have made a mistake, he is no thief. The prime
mistake was having a too good man trying to disrupt an industry filled with greedy, shady, infamous
landlords.


Even under house arrest, Ari invented a device that may safely utilize Far UVC light to filter-out
Coronavirus, and then recruited some of the smartest experts -- people who met Ari at his medical
conference and elsewhere, from MIT, Harvard Medical School, Columbia University -- to work on “Far
UVC” wearable technology which will kill viruses & superbugs as they approach the wearer. Millions
of people could be saved via his leadership and his team, and the next pandemic could be ended
more quickly. I hope you will allow Ari to continue his good work. It would be a major harm to society
to put him in prison and stop this work.


I can also tell you as a friend who knows Ari well, that he is much happier and more excited working
with healthcare innovators than real estate people -- and the Court can be sure that Ari has learned
his lesson, that he is not a fit for that industry and is working to leave it while ensuring his customers
and investors are taken care-of. In fact, we have talked and are working to find a replacement CEO
who will be better suited for those personalities, so Ari does not have to interact them or handle
business matters.




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As a physician and friend who has known Ari for years, I urge you please do not put him into a prison
or camp, which would almost-certainly cause him severe mental damage. Ari’s mind is healthy when
it’s busy creating, but solitude and stillness are hell for anyone with such personality. Even now,
hurting from this payment dispute turned criminal prosecution, he has begun to turn this hard-learned
lesson into more good for the world.


Please do the world the kindness of freeing Ari to do good. Please do not torture him by putting him in
prison.


Thank you,


Dr. Rami Cohen, MD




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